                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  ISABEL ZELAYA, et al.,                         )
                                                 )
         Plaintiff,                              )
                                                 )             Civil Action No 3:19-CV-62
  v.                                             )             (REEVES/GUYTON)
                                                 )
  JERE MILES, et al.,                            )
                                                 )
                                                 )
         Defendants.                             )

              JOINT MOTION TO SUSPEND DEADLINES FOR RESPONDING
                       TO SECOND AMENDED COMPLAINT

         Come now Plaintiffs, by and through counsel, and Defendants, by and through J. Douglas

  Overbey, United States Attorney for the Eastern District of Tennessee, (“Parties”), and jointly

  move the Court to suspend the deadlines for individual defendants to respond to the Second

  Amended Complaint (Doc. 97) pursuant to Rule 12 of the Federal Rules of Civil Procedure. In

  support of this request, the Parties submit that they discussed setting a collective deadline for the

  individual defendants to respond to the Second Amended Complaint. However, because

  Plaintiffs plan to request leave to file a third amended complaint, the Parties believe setting a

  deadline for responding to the Second Amended Complaint will create unnecessary pleadings.

  Therefore, the Parties request that the Court suspend temporarily the deadlines for responsive

  pleadings to allow Plaintiffs to move for leave to file the third amended complaint and permit

  the Parties to propose a deadline for responsive pleadings within fourteen days of the filing of

  the third amended complaint.

         On January 29, 2019, Plaintiffs presented tort claims against the United States for

  administrative determination pursuant to the Federal Torts Claim Act, 28 U.S.C. § 1346 (“FTCA




Case 3:19-cv-00062-PLR-HBG Document 153 Filed 06/06/19 Page 1 of 6 PageID #: 1757
  Claims”). 1 The FTCA Claims relate to the execution of the search warrant at Southeastern

  Provision, which is also at issue in the instant lawsuit. Plaintiffs are required to exhaust the

  FTCA Claims at the administrative level before moving to amend their pleading to add the FTCA

  Claims to the instant case. In order to exhaust, the FTCA Claims must be decided by the agency

  at the administrative level. The agency can decide the FTCA Claims by either: (a) rendering a

  decision on the claims or (b) failing to issue a decision within six months of the filing of the

  claims — whereupon, the claims may be deemed denied, see 28 U.S.C.A. § 2675 (“The failure

  of an agency to make final disposition of a claim within six months after it is filed shall, at the

  option of the claimant any time thereafter, be deemed a final denial of the claim for purposes of

  this section.”). Thus, because the FTCA Claims were submitted to the agency on January 29,

  2019, either the FTCA Claims will be explicitly decided in the next eight weeks, or they may be

  deemed denied on July 29, 2019. Either way, the FTCA Claims will be decided at the

  administrative level by the end of July 2019.

         After a decision is issued on the FTCA claims, Plaintiffs intend to move the Court for

  leave to amend the Second Amended Complaint to add in claims, including but not limited to,

  the FTCA Claims. Thus, absent a continuation of the deadlines for responding to the Second

  Amended Complaint, the individual defendants would respond to the Second Amended

  Complaint by answering or filing motions to dismiss, and Plaintiffs would move to amend the

  Second Amended Complaint shortly thereafter.          Upon amendment of the complaint, the

  individual defendants would amend their answers or motions to dismiss. This cycle of pleading,

  responding, and amending both the complaint and the responses thereto will expend judicial




  1
   The instant description of the FTCA and its requirements is not exhaustive, nor does it waive
  any FTCA defenses that the United States – currently a third party – might raise in the future.
                                                   2

Case 3:19-cv-00062-PLR-HBG Document 153 Filed 06/06/19 Page 2 of 6 PageID #: 1758
  resources and the Parties’ resources unnecessarily and crowd the record with unnecessary filings.

  The Parties hope to avoid such waste by requesting the instant relief.

         Accordingly, the Parties move the Court to suspend the deadlines for the individual

  defendants, including both defendants who have been served and those who will be served

  during the pendency of the instant issue, to respond to the Second Amended Complaint. The

  Parties are unable to propose a date certain to which the response deadline for the individual

  defendants should be reset because the Parties do not know: when the FTCA administrative

  claims will be decided, when the Plaintiffs will file the motion to amend, when a ruling on the

  motion to amend will issue, or when the third amended complaint will be filed. As a result, the

  Parties move the Court to:

              1. Suspend the deadlines for the individual defendants, including both defendants

                 who have been served and those who will be served during the pendency of the

                 instant issue, to respond to the Second Amended Complaint pursuant to Rule 12

                 of the Federal Rules of Civil Procedure; and

              2. Allow the Parties fourteen days following the filing of Plaintiffs’ third amended

                 complaint in which to agree to a deadline for the individual defendants 2 to

                 respond to the third amended complaint and to propose that date to the Court.

                                                       Respectfully submitted,

                                                       Signature pages follow.




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    The Parties agree that the United States’ and the individual Defendants’ deadline to respond to
  the third amended complaint will be within the time allowed under Fed. R. Civ. P. 12 based upon
  the date on which it is served.
                                                   3

Case 3:19-cv-00062-PLR-HBG Document 153 Filed 06/06/19 Page 3 of 6 PageID #: 1759
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                                        4

Case 3:19-cv-00062-PLR-HBG Document 153 Filed 06/06/19 Page 4 of 6 PageID #: 1760
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                                        5

Case 3:19-cv-00062-PLR-HBG Document 153 Filed 06/06/19 Page 5 of 6 PageID #: 1761
                                    CERTIFICATE OF SERVICE

           I hereby certify that on June 6, 2019, the foregoing motion was electronically filed. Notice
  of this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
  on the electronic filing receipt, and all persons or parties not on the electronic filing receipt will be
  served by regular U.S. Mail. Parties may access this filing through the Court’s electronic filing
  system.



                                                  By:     s/ Leah W. McClanahan
                                                          Leah W. McClanahan
                                                          Assistant United States Attorney




                                                     6

Case 3:19-cv-00062-PLR-HBG Document 153 Filed 06/06/19 Page 6 of 6 PageID #: 1762
